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 AO 472 (Rev. 09/1 6) Order of Detention pending Trial
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                                         UNtrsn SrarBs Drsrnrcr CoURT
                                                                       for the
                                                                                                              IStl f{AT   l6 &}{ l0l lr8
                                                                District of Vermont

                      United States of America                                                                    DEPUTY CLEBffi
                                                                         )
                                   v.                                    )
                          Nathan Carman                                  )       CaseNo. 5:22+149
                                                                         )
                               Defendent                                 )

                                         ORDER OF DETENTION PEI\DING TRIAL

                                                         Part I - Eligibility for Detention

      Upon the

                 E Motion of the Government attorney            pursuant to 1g    u.s.c.   g 3142(f)(1), or
                 tr   Motion of the Government or Court's own motion pursuant to 18 U.S.C. S 3142(DQ),

the Court held a detention hearing and found that detention is warranted. This order sets forth the Court's findings of fact
and conclusions of law, as required by 18 U.S.C. $ 3142(i), in addition to any other findings made at the hearing.

                              Part II - Findings of Fact and Law as to Presumptions under g 3la2(e)

  il A. Rebuttable Presumption      Arises Under 13 U.S.C. $ 31a2(e)(2) (previous viotator): There is a rebuttable
      presumption that no condition or combination of conditions will reasonably assure the safety of any other person
      and the community because the following conditions have been met:
            D (1) the defendant is charged with one of the following crimes described in 18 U.S.C. g 3142(f)(1):
                tr(a) acrime of violence, aviolation of 18 U.S.C. $ 1591, or an offense listed in 18 U.S.C.
                      $ 2332b(g)(5)@) for which a ma:rimum tenn of imprisonment of 10 years or morc is prescribed; or
                   tr (b) an offense for which the maximum sentence is life imprisonment or death; or
                   D (c) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the
                       Controlled Substances Act(21U.S.C. $$ 801-904), the Controlled Substances Import and Export Act
                       (21 U.S.C. $$ 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C.
                                                                                             $$ 70501-10508); or
                    D (d) any felony ifsuch person has been convicted oftwo or more offenses described in subparagraphs
                        (a) through (c) of this paragraph, or two or more State or local offenses that would have been offenses
                        described in subparagraphs (a) through (c) ofthis paragraph ifa circumstance giving rise to Federal
                       jurisdiction had existed, or a combination of such offenses; or
                    tI(e) any felony that is not otherwise a crime of violence but involves:
                        (i) a minor victim; (ii) the possession of a firearm or destructive device (as defined in 18 U.S.C. g 921);
                       (iii) any other dangerous weapon; or (iv) a failure to register under 18 U.S.C. g 2250; and
            n    (2) the defendant has previously been convicted of a Federal offense that is described in 18 U.S.C.
                 $ 3142(D(1), or of a State or local offense that would have been such an offense if a circumstance giving rise
                 to Federal jurisdiction had eisted; and
            il   (3) the offense described in paragraph (2) above for which the defendant has been convicted was
                 committed while the defendant was on release pending trial for a Federal, State, or local offense; azd
           tr    (4) a period of not more than five years has elapsed since the date of conviction, or the release of the
                 defendant from imprisonmen! for the offense described in paragraph (2) above, whichever is later.


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                                                                                                      other offewes): There is a
   D B. Rebuttable presumption Arises Under 18 U.S.C.                 $ 31a2(eX3) (narcotics,firearu,
         fvuulLourg presumption
         rebuttable   PrvJuuyL!    that no condition or combination of conditions will reasonably      TY:::: f:-1ffi:?"":*:,
         defendant as required and the safety of the     .o.-*ity because there is probable cause to believe that the defendant
         committed one or more of the following offenses:
                                                                                                                in the
               tI (1) an offense for which a maximum term of imprisonment of 10 years or more is prescribed
                                                                                                  Import and Export Act(21
                  Controlled Substances Act(ZlU.s.C. $$ S01-904), the Controlled Substances
                    U.S.C.$$951.971),orChapterzo5oftitle46,U.S.C.(46U.S.C.$$70501-70508);
                 il (2) an offense under 18 U.S.C. $$ 924(c), 956(a),or2332b;
                                                                                               of imprisonment of            10 years
               -
                 D (3) an offense listed in 1g u.s.c. g 2332b(gX5)(B) for which a manimum term
                      or more is Prescribed;
                tr    (a) an offense under chapter 77 of Title 18, u.s.c. (18   u.s.c. $$ 1581-1597) for which a maximrun term of
                      imprisonment of 20 years or more is prescribed; or
                t1 (5) an offense involving a minor victim under 18 U.S.C. $$ 1201, 1591,2241,2242,2244(a)(1)'2245'
                    2251,2251A,2252(a)(1),2252(a)Q),2252(a)(3),2252A(a)(l),2252A(a)Q),2252A(a)(3),2252A(a)(4),
                      2260, 2421, 2422, 2423, or 2425.

                                                                                  Above
    il    C.   Conclusions Regarding Applicability of Any Presumption Established

                                                                                        presumption above, and detention is
                E     The defendant has not introduced sufficient evidence to rebut the
                      ordered on that basis. @art III need not be cotnpleted')
                      OR
                                                                                                  but after considering the
                il-   The defendant has presented evidence sufficient to rebut the presumption,
                                                                          detention is warranted'
                      fresumption and the other factors discussed below,

                                      Part III - Anatysis and Statement of the Reasons for Detention
                                                                                        presented at the detention
     After considering the factors set forth in 18 U.S.C. $ 3142@) and the information
                                                                                because the Government has proven:
 hearing the court concludes that the defendant must be detained pending trial


                                                                                           of release         will reasonably      assure
    tr By clear     and convincing evidence that no condition or combination of conditions
          the safety of any other person and the community'

                                     of evidence that no condition or combination of conditions of release
                                                                                                           will reasonably assure
     tr   By    a preponderance
          the defendant's appearance as required.

                                                                                detention include the following:
 In addition to any findings made on the record at the hearing, the reasons for

           tr    Weight of evidence against the defendant is strong
           il    Subject to lengthy period of incarceration if convicted
           D hior    criminal history
            tr Participation in criminal activity while on probation, parole, or supervision
            D History of violence or use of weapons
            tr History of alcohol or substance abuse
            tr Lack of stable emPloYment
            tr Lack ofstable residence
            D Lack of financially responsible sureties
            D Lack of significant community or family ties to this district
                                                                                                                                    Page2of   3
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        D Significant family or other ties outside the United States
        D Lack of legal status in the United States
        D Subject to removal or deportation after serving any period of incarceration
        tI    Frior failure to appear in court as ordered
        il    Prior attemp(s) to evade law enforcement
         E    Use of alias(es) or false documents
         il   Backgtound information unknown or unverified
         [1   Prior violations ofprobation, parole, or supervised release

OTHER REASONS OR FT]RTMR EXPLANATION:


         f,   Motion was unopposed by the defendant through statements of counsel




                                                   Part fV - Directions Regarding Detention

                                                                                                 designated representative for
 The defendant is remanded to ttre custody ofthe Attorney General or to the Attorney General's
                                                                                                 or serving sentences or being
 confinement in a conections facility sepalate, to the extent practicable, from persons awaitlgg
                                                                                                 for private consultation with
 held in custody pending appeal. 'ihe defendant must be afforded u."u.onubl" opportunity
 defense counsel. on order of a court of the united states or on request of an attorney
                                                                                           for the Govemment, the person in
 charge of the corrections facility must deliver the defendant to a United States Marshal
                                                                                          for the purpose of an appearance in
 connection with a court proceeding.

 Date:                   0511612022
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